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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

Docket No. 2:05-cv-03808

In re: Vioxx® * MDL Docket No. 1657
Product Liability Litigation *
* SECTION L
This document relates to: *
*
Lorraine Phillip, et al. * JUDGE FALLON
v. *
Merck & Co., Inc., et al. * MAGISTRATE JUDGE KNOWLES
*
Only with regard to: *
Ruth Herring *
*
*
*
*

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ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Ruth Herring in the above-captioned case be
and they hereby are dismissed with prejudice with each party to bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2011.

DISTRICT JUDGE
